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                         STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO


  MELODY JOY CANTU AND DR. RODRIGO                        Civil Action 5:20-CV-0746-JKP
  CANTU,

                              Plaintiffs,

                              v. UNITED

  DR. SANDRA GUERRA and DIGITAL
  FORENSICS CORPORATION, LLC,

                              Defendants.



                   MOTION TO WITHDRAW AS ATTORNEY
                 FOR DIGITAL FORENSICS COPORATION LLC


TO THE HONORABLE JUDGE OF SAID COURT:

Now Comes Lewis K. Harley, counsel for Digital Forensics Corporation LLC, (“Digital”)

and files this his Motion to Withdraw as Counsel for Digital, and in support thereof,

would respectfully show the court as

follows:

   1. Movant has developed health issues which require his full attention, resulting in

       his desire to withdraw as counsel from this and other pending cases.

   2. Movant has notified Digital of his need to withdraw as counsel. Digital will

       substitute counsel in place of Movant.




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   3. The address for Digital is:

       Digital Forensics Corporation LLC.
       4400 Renaissance Pkwy
       Warrensville Heights, OH, 44128
       Attn: Jeromy Simonovic, Esq.
       800.849.6515 | Extn: 231

   4. Counsel for Digital is not filing this motion as any attempt to delay this matter,

but so that justice may be done regarding this matter. Counsel for Digital feels

that to continue to represent Digital may place Digital without proper representation for

the continued defense of this cause.

   5. As a result of the foregoing, Counsel for Digital moves this court for an order

removing Counsel as the attorney of record for Digital and relieving him of all

further responsibilities regarding this matter.

   6. Counsel for Digital further moves this court for another 30-day extension of all

pending deadlines, pursuant to this court’s Scheduling Order, in order to allow

Digital time to comply with the upcoming deadlines.

       WHEREFORE, PREMISES CONSIDERED, Counsel for Plaintiffs prays that this

court enter an order removing John M. Henderson as attorney of record of this cause, that

he have no further responsibility regarding this matter and for such other and further

relief to which he may show himself justly entitled.




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                           RESPECTFULLY SUBMITTED,


                           THE HARLEY LAW GROUP

                           By:
                               /s/Lewis K. Harley
                              Lewis K Harley
                              Texas Bar No. 09015500
                              4801 Woodway Drive
                              Suite 300E
                              Houston, Texas 77056
                              Tel. (713) 968-6540
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                              Lewis.harley@harleylawgroup.com
                              Attorney for Plaintiff




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                                Certificate of Conference

Counsel for Digital has conferred with all other counsel in this case via email and they
are unopposed.


                                  Certificate of Service

I certify that on this 21st of July, 2021, a true and correct copy of the foregoing was
electronically filed with the Clerk of the Court using the CM/ECF system which will send
electronic notification of such filing to the parties on record.


                                                 /s/Lewis K. Harley




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